






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00559-CR







Justin Dean Collingwood, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 27TH JUDICIAL DISTRICT


NO. 62565, HONORABLE PHILLIP ZEIGLER, JUDGE PRESIDING






M E M O R A N D U M    O P I N I O N



A jury found appellant Justin Dean Collingwood guilty of aggravated kidnapping. 
See Tex. Penal Code Ann. § 20.04 (West 2003).  The trial court assessed punishment, enhanced by
a previous felony conviction, at thirty-five years in prison.

Appellant's court-appointed attorney has filed a motion to withdraw supported by a
brief concluding that the appeal is frivolous and without merit.  The brief meets the requirements of
Anders v. California, 386 U.S. 738, 744 (1967), by presenting a professional evaluation of the record
demonstrating why there are no arguable grounds to be advanced.  See also Penson v. Ohio,
488&nbsp;U.S.&nbsp;75 (1988); High v. State, 573 S.W.2d 807 (Tex. Crim. App. 1978); Currie v. State,
516&nbsp;S.W.2d 684 (Tex. Crim. App. 1974); Jackson v. State, 485 S.W.2d 553 (Tex. Crim. App. 1972);
Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App. 1969).  Appellant received a copy of counsel's
brief and was advised of his right to examine the appellate record and to file a pro se brief.  See
Anders, 386 U.S. at 744.  No pro se brief has been filed.

We have reviewed the record and find no reversible error.  See Garner v. State,
300&nbsp;S.W.3d 763, 766 (Tex. Crim. App. 2009); Bledsoe v. State, 178 S.W.3d 824, 826-27 (Tex. Crim.
App. 2005).  We agree with counsel that the appeal is frivolous.  Counsel's motion to withdraw
is&nbsp;granted.

The judgment of conviction is affirmed.



				__________________________________________

				Jan P. Patterson, Justice

Before Justices Patterson, Puryear and Henson

Affirmed

Filed:   July 1, 2010

Do Not Publish


